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                      EXHIBIT “A”
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   ZEPHERINE MILLER,                                  §
                                                      §
          Plaintiff,                                  §
                                                      §
   v.                                                 §       No. 1:23-cv-02620-MEH
                                                      §
   NATIONAL CREDIT SYSTEMS, INC.,                     §
                                                      §
          Defendant.                                  §


                                 DECLARATION OF RON SAPP
                             NCS VICE PRESIDENT OF OPERATIONS


          1.      My name is Ron Sapp. Pursuant to 28 U.S.C. § 1746, I declare under penalty of

   perjury that I am fully competent to provide this Declaration and the foregoing statements are

   true and correct, and within my personal knowledge.

          2.      I am Vice President of Operations of National Credit Systems, Inc., a Georgia

   Corporation (hereinafter, “NCS”) and I have over thirty-five (35) years’ experience in the

   industry, including thirty years in operations at NCS. I am familiar with the facts and claims set

   forth in the litigation filed by Plaintiff Zepherine Miller (“Ms. Miller” or “Plaintiff”) styled: Civil

   Action No. 23-cv-02620-NYW-MEH; Zepherine Miller v. National Credit Systems, Inc., at al.;

   In the United States District Court of Colorado (hereinafter, this “Litigation”) that dealt with an

   alleged debt owed by Ms. Miller to The Connor Group, A Real Estate Investment Firm, LLC

   d/b/a The Connor Group managing the Alas Over Lowry Apartments (“AOL”) related to a

   breached lease agreement, the “AOL-Miller Account.” I am the corporate representative of NCS

   and I am authorized on behalf of NCS to make this Declaration.




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          3.     I am also personally familiar with NCS’s collection policies, procedures and

   practices, and it is part of my duties and responsibilities at NCS to help develop and maintain

   policies and procedures that are reasonably adapted to avoid any errors that could violate

   consumer protection statutes, including (1) the process by which NCS obtains new accounts for

   collection, including policies and procedures that NCS has developed to ensure the debts

   accepted for collection are accurate, (2) the process and policies and procedures maintained and

   followed by NCS to perform reasonable investigations and respond to direct disputes made to

   NCS, and (3) the process and policies and procedures maintained and followed by NCS to

   perform investigations and respond to indirect disputes made to a consumer reporting agency

   (“CRA” such as Experian, Equifax, and Trans Union) that NCS receives through the Metro2 e-

   Oscar system used by the CRAs known as automated consumer dispute verifications (“ACDVs”)

   which NCS typically performs using the assistance of an independent contractor, Provana, that

   specializes in the investigation of consumer disputes. I am also familiar with NCS’s policies and

   procedures maintained and followed to collect only accurate and valid debts, as well as ensure

   consumer’s disputes are properly furnished to the CRAs. Finally, I am familiar with NCS’s

   system for maintaining records, and I am a custodian of NCS’s records.

           NCS Policies to Obtain Verifiable and Accurate Lease Debts for Collection

          4.     By way of background, while also performing other collection related services,

   NCS is a third-party debt collector that collects debts from responsible parties that allegedly

   breached lease agreements. NCS has specialized in lease debt collection services for over thirty

   (30) years.   Over that thirty-year period, NCS has developed and maintains policies and

   procedures to prevent collection efforts or data furnishing to consumer reporting agencies

   (“CRAs”) on inaccurate or invalid debts, including the following:



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      •   NCS requires the original creditor, or its property manager that hires NCS to collect its

          outstanding receivables (collectively referred to herein as an original creditor), to either

          provide to NCS or have available for NCS’s review, a signed lease by the responsible

          parties, a lease application with the responsible parties’ contact and personal information

          to help identify and verify the responsible parties, and provide a final account statement

          or other similar document, such as a tenant ledger, that provides a description of the

          charges due under the lease that comprises the alleged principal amount of the debt.

      •   NCS utilizes service agreements with its clients require the original creditor to represent

          that the debts provided to NCS for collection are accurate and/or include an indemnity

          provision, whereby, if the original creditor provides a debt to NCS for collection that is

          not accurate, the original creditor must indemnify NCS from any damages resulting from

          the inaccuracy.

      •   NCS, upon placement of a debt, sends an account acknowledgment communication

          requiring the original creditor to review the relevant account information, including the

          identity of the responsible parties and the amount of debt placed with NCS and inform

          NCS of any inaccuracies then or in the future before NCS will take any collection action.

          NCS’s client services representatives regularly work with original creditors to adjust or

          recall accounts when debts are modified, paid, or waived through this process.

      •   For every account placed, NCS requires a contact for addressing collections issues,

          including disputes or general questions about each specific debt. Each client provides a

          contact or contact(s) for disputes, either on a property, portfolio, or client basis. Clients

          may provide different contacts for certain types of inquiries.




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      •   NCS, upon receipt of a direct or indirect dispute that qualifies as a level two investigation

          (such as documents supporting a contractual dispute, documents contradicting

          information in the batch file for the account, documents in support of fraud or identity

          theft, or documents questioning the validity or accuracy of the subject debt), emails the

          original creditor a form letter to alert the original creditor of the alleged debtor’s dispute,

          explain the basis of the dispute including a copy of the dispute and supporting

          documentation, and requires a response from the original creditor regarding the dispute.

          The form letter informs the original creditor that a response is required to prevent NCS

          from ceasing collection and submitting a deletion request to the CRAs.

          5.     Such policies incentivize NCS’s clients to avoid placing inaccurate or unverifiable

   debts. Between the documents that support these leasing debts (leases and account statements

   prepared by property managers familiar with the lease terms), NCS’s service agreement terms,

   NCS’s account acknowledgement, and NCS’s dispute investigation procedures, NCS can

   reasonably rely on the accuracy of the debts placed for collection and such policies and

   procedures are maintained to prevent any alleged violations of Federal Debt Collection Practices

   Act (“FDCPA”), including 15 U.S.C. §§ 1692e(2)(A), 1692e(8), 1692e(10), and 1692f.

          6.     Evidence in support of Bona Fide Error. Regarding the AOL-Miller Account,

   NCS had no intention of violating the FDCPA as shown by the fact that it followed the policies

   and procedures NCS maintains to prevent violations of FDCPA 15 U.S.C. §§ 1692e(2)(A),

   1692e(8), 1692e(10), and 1692f as set out in Paragraphs 4 and 5 above. The account documents

   (Lease Application, Lease, and Final Account Statement) were all provided by TCG as detailed

   below. The Service Agreement with TCG contains the required indemnity provision, and the

   account acknowledgement form was sent to TCG without resulting in any issue regarding the



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   account or validity of the AOL-Miller Account.        A true and correct copy of the Service

   Agreement and Account Acknowledgement is attached as Exhibits “A-1” and “A-2.” TCG

   provided a contact email to receive communications, provide documents and information

   regarding its accounts, and assist in resolving disputes (alas@connorgroup.com) as shown in the

   communications attached as Exhibits “A-6” through “A-12” and “A14” through “A16.” TCG’s

   representative was active in providing documentation and information to ensure account

   accuracy. Id. In addition, on three different occasions involving three different disputes by Ms.

   Miller, NCS followed its dispute investigation procedures by forwarding its form letter to TCG

   along with copies of Ms. Miller’s disputes and obtained responses from TCG all as detailed

   below.

                          NCS’ Policies Regarding Dispute Investigation

            7.    It is NCS’s policy to only provide accurate information to the CRAs. Further, it is

   NCS’s policy to conduct a reasonable investigation when a dispute is received, regardless of

   whether it is a direct dispute to NCS or indirect dispute received through ACDVs from the

   CRAs. NCS trains its investigators, and in the case of contractors hired as specialists for

   investigations such as Provana, such investigators receive separate training by Provana, to

   perform reasonable investigations, including the use of NCS’s written policies and procedures

   which are described below:

            8.    Indirect Disputes Received through ACDVs. By way of background, for each

   dispute received by the CRAs from consumers, the CRA will review the consumer dispute

   received, determine the appropriate “dispute code” from a list of e-Oscar (the application used by

   all CRAs and data furnishers, such as NCS) dispute codes, then submit the ACDV to NCS for

   response. If the consumer attaches relevant documents or information to support their dispute to



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   the CRAs, then the CRAs, when submitting the ACDVs to the data furnisher will (typically)

   include a description or basis of the dispute and the supporting documentation from the

   consumer’s dispute that would assist the data furnisher with its investigation. Indeed, as a third-

   party collector, NCS routinely communicates with the original creditor when a dispute raises

   issues about the amount or validity of the debt.       From my thirty-five years in third party

   consumer debt collection operations, this is in compliance with industry standards and best-

   practices.

          9.      For a situation like the one presented in this Litigation where the alleged debtor

   claims that the amount owed is not correct, pursuant to its written policies and procedures to

   conduct a reasonable investigation of these indirect disputes received through ACDVs, NCS’s

   administrative personnel and contractors that conduct the investigations, will review the

   following:

          (a)     the Dispute Code provided by the CRA which is used to guide the investigation;

          (b)     NCS’s Account Notes for the subject debt which will include notes on the

                  investigation of any previous disputes, communications between NCS and the

                  debtor, and communications between NCS and the original creditor;

          (c)     the documents in NCS’s “batch file” for the subject debt such as the lease, final

                  account or move-out statement, any lease application and supporting documents,

                  any tenant ledger, and any communications between the debtor and original

                  creditor;

          (d)     any reasons for the dispute or relevant information as supplied by the ACDV;




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          (e)     any documents provided by the alleged debtor included with the ACDV, as well

                  as previous documents supplied by the alleged debtor to NCS, all of which are

                  kept in NCS’s batch file for the subject debt; and

          (f)     if warranted by the previous items, contact the original creditor, providing the

                  original creditor with a form letter that describes the nature of the alleged debtor’s

                  dispute and requirements to perform an investigation of the dispute and return the

                  results to the CRAs, including a summary of the debtor’s dispute and a copy of

                  any documents supplied with the ACDV in support of the dispute. The form

                  letter requires the original creditor to review the dispute and verify or otherwise

                  update NCS regarding any issues with the validity or accuracy of the alleged debt.

   Based on NCS’s thirty years of experience investigating leasing debt disputes, this process has

   proven to be a reasonable investigation process.

          10.     Issue of Legal Disputes. For the situation presented in this litigation, NCS does

   not, and is not required under the framework of the FCRA, to train its collectors, investigators, or

   contractors to attempt to resolve legal or contractual disputes that are not objectively and readily

   verifiable. For instance, as was applicable in Plaintiff initial disputes prior to the State Court

   Litigation against TCG described below, Plaintiff’s dispute involved questions of contract

   interpretation that would require a direct action between the TCG and Plaintiff. Following

   resolution of the State Court Litigation, Plaintiff’s dispute involved the applicability of a

   Judgment against TCG. Again, as a state court judgment, which could be subject to later

   proceedings and did not specifically reference AOL, it is more reasonable to rely on TCG to

   determine the applicability of the Judgment than have NCS’s personnel and contractors

   determine that legal question.



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                              NCS’ Collection of the AOL-Miller Account

          11.       All activity taken with respect to a particular collection placement are noted and

   included on NCS’s Account Demographics and Notes (the “Account Notes”). All collectors,

   investigators, and contractors performing investigations are trained regarding NCS’s collection

   software, WinDebt, including how to notate all activity taken with respect to a particular account

   and debt on the Account Notes. A true and correct copy of NCS’s Account Notes for the AOL-

   Miller Account is attached hereto as Exhibit “A-3.”

          12.       The placement of the AOL-Miller Account by TCG occurred on December 21,

   2020. See Exhibit “A-3.” Pursuant to NCS’s polices and procedures, that triggered NCS to email

   its Account Acknowledgment Report to TCG on December 22, 2020, to confirm the responsible

   party and amount due for the AOL-Miller Account before any collection activity. See Exhibit

   “A-2.” On December 28, 2020, NCS began collection efforts by sending Plaintiff its FDCPA §

   1692g compliant letter (the 1.3 Letter) and attempting collection communications. See Exhibit

   “A-3.” NCS began furnishing information regarding the AOL-Miller Account to the CRAs on

   March 2, 2021. See Exhibit “A-3.”

                                NCS’ Investigation of Plaintiff’s Disputes

          13.       For any direct disputes, the information related to those disputes is fully contained

   in the Account Notes. For indirect disputes received through eOscar as ACDVS, the information

   on all ACDV’s can be downloaded from the eOscar application into a spreadsheet. A true and

   correct copy of the spreadsheet containing all information on the ACDVs received on the AOL-

   Miller Account is attached as Exhibit “A-4” and the results of any investigations, including any

   communications with the Original Creditor for investigations are included in the Account Notes,

   Exhibit “A-3.”



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         14.     Plaintiff’s first set of indirect disputes received from Experian, Equifax, and

  Trans Union (May–June 2021). On May 23, 26 and June 10, 2021, NCS received ACDVs from

  each of the CRAs containing the same dispute letter from Plaintiff dated May 8, 2021. See

  Exhibit “A-4” at NCS-137 and one of the dispute letter copies attached to the ACDVs, a true and

  correct copy of which is attached as Exhibit “A-5.” The dispute codes used were 112 (claims

  inaccurate information) or 1 (not his hers). See Exhibit “A-4” at NCS-093. NCS followed its

  reasonable investigation protocol set out above in Paragraph 9. Because the dispute letter made

  an allegation that the Lease did not contain a security deposit at the time of signing including

  supporting documentation, that investigation included a verification request to TCG to verify the

  AOL-Miller Account. On May 31, and again on June 1, 2021, NCS emailed its form letter

  (Client email 71) that is customized to provide a description of Plaintiff’s dispute and a copy of

  the dispute to TCG to review and verify whether the AOL-Miller Account was accurate and

  valid. A true and correct copy of such verification request to TCG is attached hereto as Exhibit

  “A-6.” TCG responded on June 3, 2021, to provide all the documents to support the validity of

  the AOL – Miller Account, including the Lease, Application and Acknowledgement, a true and

  correct copy of which is attached hereto as Exhibit “A-7.”           NCS followed up on that

  communication requesting a copy of the Final Account Statement (“FAS”) that supported the

  amount due, for which TCG provided a copy to NCS on June 9, 2021, a true and correct copy of

  which is attached hereto as Exhibit “A-8.” Such communications are also reflected on the

  Account Notes, Exhibit “A-3” on the 06/09/2021 entries at NCS-080.

         15.     Plaintiff’s direct dispute to NCS. On August 6, 2021, NCS processed a dispute

  letter from Plaintiff complaining about the same security deposit issue and attaching supporting

  documentation which triggered NCS to email NCS’s form letter to TCG attaching a copy of a



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  dispute letter from Plaintiff along with the supporting documentation, a true and correct copy of

  which is attached hereto as Exhibit “A-9.” On August 11, 2021, TCG responded as follows, a

  true and correct copy of which (sans attachments) is attached hereto as Exhibit “A-10”:




         16.     On August 14, 2021, TCG responded to NCS’s inquiry whether the unit leased by

  Ms. Miller was re-rented to determine whether the AOL – Miller Account should be reduced for

  mitigation, a true and correct copy of which is attached as Exhibit “A-11.”

         17.     On September 21 and 25, 2021, TCG responded to another email from NCS

  regarding Plaintiff’s dispute regarding the mitigation issue, for which TCG reviewed the account

  and provided NCS with a revised Final Account Statement with a reduced balance. True and

  correct copies of these communications are attached as Exhibit “A-12.”

         18.     Effect of Notating Plaintiff’s Account as “Disputed”. As a result of Plaintiff’s

  disputes, NCS marked the subject account as disputed by Plaintiff at least by August 6, 2021.

  See Exhibit “A-3” at entry on 08/06/2021. This notation adds the eOscar code “XB” to all

  information furnished to the CRAs as required by FDCPA § 1692e(2)(A) and e(8). Compliance

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  code XB indicates that the account information is disputed by consumer under FCRA on all of its

  future credit submissions—it is “sticky”—meaning it is not removed with subsequent furnishings

  or as a matter of course. When compliance code XB is furnished with an account on a credit

  report, that account is excluded from credit scoring. Meaning, a consumer’s credit score is not

  impacted positively or negatively by any account where compliance code XB is notated.

         19.    NCS is familiar with the XB codes and this mitigation policy, pursuant to its

  efforts to comply with the requirements of the FCRA, including the review of materials

  furnished by the CRAs, general industry resources, information from and the engagement of

  credit experts familiar with the credit scoring models and processes to assist NCS in complying

  with the FCRA.

         20.    Plaintiff’s second set of indirect disputes received from Experian and TransUnion

  (April 2023). On April 6 and 7, 2023, NCS received ACDVs from Experian and TransUnion

  containing the same dispute letter from Plaintiff dated March 23, 2023, using dispute codes 112

  (claims inaccurate information) and 118 (disputes current balance). See Exhibit “A-4” at NCS-

  093, NCS-137. A true and correct copy of the dispute letter and attachments, including a

  Complaint from a State Court Lawsuit and Judgment against TCG, is attached as Exhibit “A-13.”

  The dispute letter indicated that “the Apartment Complex [AOL] agreed that the lease they

  turned over to the Debt Collector was void and of no force or effect.” Plaintiff’s dispute letter

  also requested that the CRAs verify the dispute with TCG as follows:1




         1
           Notably, NCS would not have its investigators and contractors contact third parties
  regarding the debt to avoid any possible violations of FDCPA § 1692c(b).

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         21.     NCS’s investigative contractor, Provana combined with NCS’s internal personnel

  coordinating communications with TCG, performed a reasonable investigation of Plaintiff’s

  second set of indirect disputes by following NCS’s procedure set out above in Paragraph 9 and

  shown by the Account Notes. See Exhibit “A-3” at NCS-083, 084 at entries 04/14/2023 through

  05/01/2023. A review of the Account Notes shows that TCG had not recalled or requested

  modifications of the AOL-Miller Account and a review of the batch file would confirm the

  validity and accuracy of the Account. Then, as Plaintiff’s dispute letter claimed, “the Apartment

  Complex agreed that the lease they turned over to the Debt Collector was void and of no force

  and effect,” and included legal documents from a lawsuit against TCG, as well as a request to

  contact TCG / AOL, NCS sent its form original creditor verification of dispute letter (Client

  email 71) to TCG. The verification request letter was customized to explain Plaintiff’s dispute

  and emailed to the correct TCG contact (alas@connorgroup.com) on April 14 and again April

  19, 2023. See Exhibit “A-3” at NCS-08. The verification request letter also attached Plaintiff’s

  dispute letter dated March 23, 2023, including the attached copy of the Complaint and Judgment.

  A true and correct copy of the emails and attachments is attached as Exhibit “A-14” whereby the

  verification letter specifically requested the following:

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         22.     On April 19, 2023, TCG responded to NCS’s request for verification by reply

  email indicating that the AOL-Miller Account was valid and owing:




  A true and correct copy of this verification of the debt is attached hereto as Exhibit “A-15.”

         23.     As Plaintiff’s letter indicated that an investigation should include contacting

  TCG-AOL and to make sure the AOL-Miller Account was still showing a balance owed, on

  April 20, 2023, NCS followed up on its verification request to TCG by sending another email to

  the designated email address to seek a copy of the tenant ledger to confirm the account balance,

  for which TCG responded and provided a copy of the Tenant Ledger. See Exhibit “A-3” at

  NCS-084. A true and correct copy of this email exchange is attached as Exhibit “A-16.” Based

  on TCG’s verification of the AOL-Miller Account as accurate and valid, and providing a Tenant

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  Ledger that still showed the balance owed by Plaintiff, NCS responded to the second set of

  ACDVs by verifying the AOL-Miller Account. See Exhibit “A-4” at NCS-132 (showing eOscar

  dispute response code “23” which is a code to verify the account). Unfortunately, while TCG

  resolved the AOL–Miller Account in the State Court Lawsuit, it failed to update its Tenant

  Ledger or otherwise inform the onsite property manager designated to respond to dispute

  investigations at AOL who verified the AOL-Miller Account as accurate.

         24.     NCS did receive two additional ACDVs in May 2023 on the AOL-Miller

  Account.     However, such ACDVs failed to provide any dispute letter or any supporting

  documentation. All NCS received was an ACDV with a dispute code. Without any new

  information to investigate, NCS relied on its previous investigations as provided in the Account

  Notes and batch file. See Exhibit “A-3” at NCS-084 at entries on 05/29/2024.

         25.     Had TCG properly recalled the AOL-Miller Account or otherwise communicated

  that the Account was waived or determined to be invalid during the investigation process, NCS

  would have submitted a deletion request of the tradeline to the CRAs. When NCS was served

  with Plaintiff’s Complaint in this lawsuit, that is precisely what happened on September 29,

  2023, such that any negative credit reporting would have ended on that date.

         26.     Business Records. I am a custodian of records for NCS. Attached hereto are

  Exhibits “A-1” through “A-16” are business records of NCS for Plaintiff’s Account with NCS.

  These records are kept by NCS in the regular course of business, and it was the regular course of

  business of NCS. for an employee or representative of NCS, with knowledge of the act, event,

  condition, opinion or diagnosis, recorded to make the record or to transmit information thereof to

  be included or to transmit information thereof to be included in such record; and the record was




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  made at or near the time or reasonably soon thereafter. The records attached are the original or

  exact duplicates of the original.

          Executed within the United States, in Marietta, Cobb County, Georgia on August 30,

  2024.

                                      NATIONAL CREDIT SYSTEMS, INC.


                                      By:     s/ Ron Sapp
                                              RON SAPP, VICE PRESIDENT OF OPERATIONS




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                                 Account Demographics & Notes                  Date: 09/19/2023
                                                                                                                            Time:     10:08:14
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Client Account #: 102                                                            MILLER ZEPHERINE
                                                                                 14078 NE 4TH ST
      Account ID: 4510687
                                                                                 CHOCTAW OK 73020-
      SSN:
   Client : ALAS OVER LOWERY APTS / CONNOR
   Amount Placed: $9670.50             Last Payment :                      Date Placed: 12/21/2020          Current
                                                                                                            Phone: (405) 590-6390
Amount Collected:       $0.00          Current Status: AATT               Last Worked: 02/17/2022
  Current Balance: $9670.50                  Strategy: PH1                  Last Letter: 02/03/2023




12/21/2020 05:20:21 PM (CMT) web placement
12/21/2020 05:29:31 PM (CMT) ZEPHERINE MILLER LexisNexis Banko Bankruptcy/Deceased Requests requested.
12/28/2020 04:49:45 PM (MWC1) 1.3 Letter Sent to ZEPHERINE MILLER at 8489 E LOWRY BLVD DENVER CO 80230
12/29/2020 07:57:28 PM (166) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
12/30/2020 02:01:42 PM (165) ZEPHERINE MILLER Account info changed:
01/14/2021 07:51:45 PM (166) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
01/20/2021 03:39:55 PM (166) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
01/29/2021 04:03:13 PM (RVS) ZEPHERINE MILLER NCOASource NCOA Source Requests requested.
02/02/2021 04:55:26 PM (MWC1) 2.0 Letter Sent to ZEPHERINE MILLER at 8489 E LOWRY BLVD DENVER CO 80230
02/22/2021 08:56:58 AM (RVS) ZEPHERINE MILLER NCOASource NCOA Source Requests requested.
02/25/2021 05:40:34 AM (*EOD*) ZEPHERINE MILLER Hot Follow Up Not Worked in 30 DAYS
03/02/2021 10:43:02 PM (*EOD*) Account 4510687 reported to credit bureaus.
03/11/2021 05:08:24 PM (MWC1) 3.1 Letter Sent to ZEPHERINE MILLER at 8489 E LOWRY BLVD DENVER CO 80230
03/25/2021 05:49:04 AM (RM12) ZEPHERINE MILLER Add address: 305 S FRIENDLY RD OKLAHOMA CITY OK 73130 added as Current Residence.
Address Removed: 8489 E LOWRY BLVD Denver CO 80230
05/04/2021 01:08:19 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
05/12/2021 10:18:20 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
05/19/2021 12:25:09 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
05/27/2021 03:00:52 AM (PRO2) ZEPHERINE MILLER Client email 71 was sent to alas@connorgroup.com,mnewman@theconnorgrp.com,. Status changed
from to .
05/27/2021 03:11:33 AM (PRO2) ZEPHERINE MILLER Free Hand Note: Consumer claimed inaccurate information. Dbtr stated that it was not disclosed to
him/her within the lease or upon
spking wid the leasing agent Vicki the amt of security deposit and the extra cost to take the ownership. Also,
ownership was never exchange. Debtr never lived on the premised of Alas Over Lowery. the aptment has been rented out which
Alas Over Lowery were double collecting for the same unit.dbtr provided the copies of lease and supporting docs.
Please verify the same. Also, please provide the copies of signed lease agreement and rental application.
05/31/2021 08:25:55 PM (*EOD*) Reminder to client email FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102|
:Second Request sent.
06/03/2021 02:36:02 PM (LRF) ZEPHERINE MILLER Client email reminders cancelled.
06/04/2021 08:25:01 AM (LRF) ZEPHERINE MILLER Free Hand Note: SEE ANNA
06/09/2021 10:20:48 AM (ASF) ZEPHERINE MILLER Client email reminders cancelled.
06/09/2021 10:21:26 AM (ASF) ZEPHERINE MILLER Received Email from Client; CLIENT Per Client: Obtained Information; From: Alas Over Lowry
[mailto:alas@connorgroup.com]
Sent: Thursday, June 03, 2021 12:16 PM
To: Legal
Subject: RE: FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102|
Hello,
Attached is a copy of the lease, application, application acknowledgement form, and utilities addendums.
Thank you,
Ben Glover
Alas Over Lowry
Operations Manager

06/09/2021 10:29:04 AM (ASF) ZEPHERINE MILLER Free Hand Note: Lease, Application, App acknowledgement form, and utilities addendum received from
client fwd to appends. Replied to client aasking for FAS.
06/09/2021 03:19:44 PM (ASF) ZEPHERINE MILLER Received Email from Client; CLIENT Per Client: Obtained Information; From: Alas Over Lowry
<alas@connorgroup.com>
                                                                   NCS-080
                                   Property of National Credit Systems, Inc. - Confidential
           Case No. 1:23-cv-02620-NYW-MEH Document 46-2 filed 09/24/24 USDC Colorado pg 26
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                                                            CONFIDENTIAL
                                  Account Demographics & Notes                  Date: 09/19/2023
                                                                                                                                     Time:     10:08:14
                                                                                                                                     Page: 2 of 1


Client Account #: 102                                                                  MILLER ZEPHERINE
                                                                                       14078 NE 4TH ST
       Account ID: 4510687
                                                                                       CHOCTAW OK 73020-
      SSN:
   Client : ALAS OVER LOWERY APTS / CONNOR
   Amount Placed: $9670.50                Last Payment :                        Date Placed: 12/21/2020             Current
                                                                                                                    Phone: (405) 590-6390
Amount Collected:         $0.00          Current Status: AATT                  Last Worked: 02/17/2022
  Current Balance: $9670.50                      Strategy: PH1                   Last Letter: 02/03/2023




Sent: Wednesday, June 09, 2021 2:32 PM
To: afort@nationalcreditsystems.com
Subject: RE: FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102|
Hi Anna,
Attached is the FAS.
Thank you,
Ben Glover

06/09/2021 03:19:57 PM (ASF) ZEPHERINE MILLER Account info changed: Status Code changed from Ò to Ò.
06/09/2021 03:20:36 PM (ASF) ZEPHERINE MILLER Free Hand Note: FAS received from client fwd to appends. Emailed FD for Letter 11 with FAS & Lease.
06/09/2021 03:21:19 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
06/11/2021 07:07:08 AM (PRO1) ZEPHERINE MILLER Add address: 4428 ANDES WAY APT 415 DENVER CO 80249 added as Current Residence. Address
Removed: 305 S FRIENDLY RD Oklahoma City OK 73130
06/18/2021 10:04:20 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
06/20/2021 04:41:11 PM (*EOD*) Account 4510687 reported to credit bureaus.
06/21/2021 04:13:25 PM (SCO) ZEPHERINE MILLER On Demand Letter: Debt Investigated CO was Sent to 4428 ANDES WAY APT 415 DENVER CO 80249.
06/25/2021 10:11:43 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
07/03/2021 10:07:07 AM (PRO2) Received escalation to Level 2 investigation: reviewed information submitted by consumer claiming inaccurate information
with information supplied by client. I reviewed name, address, ssn/dob, account information, checked for accuracy and matching information.
Documentation supporting the consumer’s claim was provided. I'm reporting as disputed and the account will remain as active collections, unless the
consumer provides other supporting information allowing us to further investigate the claim. RPC 23 – Accurate as of date reported.
(Investigated by: Himanshu Kumar1)
07/05/2021 05:26:26 AM (PRO2) Received escalation to Level 2 investigation: reviewed information submitted by consumer claiming this is not his/hers
with information supplied by client. I reviewed the name, address, ssn/dob, account information, checked for accuracy and matching information.
Documentation supporting the consumer’s claim was provided. I'm reporting the account as disputed and an active collection account based on the
matching information provided by our client. RPC 23 – Accurate as of date reported.
(Investigated by: Himanshu Kumar1)
07/06/2021 11:59:57 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
07/13/2021 01:54:08 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
07/21/2021 05:18:22 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
07/29/2021 03:38:10 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
08/05/2021 04:23:47 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
08/06/2021 01:54:14 PM (ARH) ZEPHERINE MILLER Marked account 4510687 for CBR dispute. Account investigation commenced
08/06/2021 01:54:18 PM (ARH) ZEPHERINE MILLER Client email 71 was sent to mnewman@theconnorgrp.com,. Status changed from to .
08/06/2021 02:05:43 PM (ARH) ZEPHERINE MILLER Free Hand Note: r.l Certified Dispute - verify balance owed, review accl rent
Ms. Miller is continuing to dispute the debt. Zepherine claims she never received possesion of the property because she wasn't made aware of the security
deposit. Please review the attached dispute along with your records and confirm if the balance listed is correct or should be revised. If the apartment was
re-rented during this period, please send a revised statement for correct amount currently owed.
08/06/2021 09:30:05 PM (LRF) ZEPHERINE MILLER Client email reminders cancelled.
08/11/2021 09:46:48 AM (LRF) ZEPHERINE MILLER Free Hand Note:
From: Alas Over Lowry [mailto:alas@connorgroup.com]
Sent: Tuesday, August 10, 2021 8:31 PM
To: Legal
Subject: RE: FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102|
Hello,
Zepherine was well aware of what the security deposit could be. She was also well aware that when signing the lease which was explained as a legally
binding document that she would be responsible for the lease. Attached are copies of the lease, application acknowledgement form, application, ledger, and
                                                                        NCS-081
                                     Property of National Credit Systems, Inc. - Confidential
           Case No. 1:23-cv-02620-NYW-MEH Document 46-2 filed 09/24/24 USDC Colorado pg 27
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                                                          CONFIDENTIAL
                                  Account Demographics & Notes                  Date: 09/19/2023
                                                                                                                              Time:     10:08:14
                                                                                                                              Page: 3 of 1


Client Account #: 102                                                              MILLER ZEPHERINE
                                                                                   14078 NE 4TH ST
       Account ID: 4510687
                                                                                   CHOCTAW OK 73020-
      SSN:
   Client : ALAS OVER LOWERY APTS / CONNOR
   Amount Placed: $9670.50              Last Payment :                      Date Placed: 12/21/2020            Current
                                                                                                               Phone: (405) 590-6390
Amount Collected:        $0.00         Current Status: AATT                 Last Worked: 02/17/2022
  Current Balance: $9670.50                   Strategy: PH1                   Last Letter: 02/03/2023




utilities addendum.
Thank you,
Ben Glover

08/11/2021 09:47:18 AM (LRF) ZEPHERINE MILLER Free Hand Note: emailing client to verify the unit has not been re-rented
08/16/2021 02:58:55 PM (LRF) ZEPHERINE MILLER Free Hand Note: From: Alas Over Lowry [mailto:alas@connorgroup.com]
Sent: Friday, August 13, 2021 9:52 PM
To: rwilbert@nationalcreditsystems.com
Subject: RE: FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102|
Hello,
The unit has been re-rented.
Thank you,
Ben Glover

08/16/2021 03:01:03 PM (LRF) ZEPHERINE MILLER Free Hand Note: emailng fd to send 11,fas and lease
08/16/2021 03:01:16 PM (LRF) ZEPHERINE MILLER Account info changed: Status Code changed from Ò to Ò.
08/16/2021 03:22:24 PM (112) ZEPHERINE MILLER Other Called in Obtained info.
08/18/2021 04:03:10 PM (SCO) ZEPHERINE MILLER Account info changed: Changed Hot Letter from Ò to Ò
08/18/2021 06:29:17 PM (MWC1) 11 Letter Sent to ZEPHERINE MILLER at 4428 ANDES WAY APT 415 DENVER CO 80249
08/27/2021 10:04:08 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
09/10/2021 10:59:21 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
09/21/2021 11:05:19 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
09/21/2021 11:21:57 AM (112) ZEPHERINE MILLER Other Called in Obtained info. spoke to slr - will reverify the balance
09/21/2021 11:22:15 AM (SLR) ZEPHERINE MILLER Client email 71 was sent to alas@connorgroup.com,. Status changed from to .
09/21/2021 11:22:34 AM (SLR) ZEPHERINE MILLER Free Hand Note: ACCELERATED RENT-It appears the former resident is being charged for accelerated
rent. If the apartment was re-rented during this period, please send a revised statement for the current amount owed.
09/25/2021 09:33:01 AM (*EOD*) Reminder to client email FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102|
:Second Request sent.
09/28/2021 04:57:54 PM (LRF) ZEPHERINE MILLER Client email reminders cancelled.
09/29/2021 09:58:18 AM (LRF) ZEPHERINE MILLER Free Hand Note: see lynn
10/19/2021 04:46:41 PM (RAE) ZEPHERINE MILLER Emailed Client; From: rellington@nationalcreditsystems.com <rellington@nationalcreditsystems.com>
Sent: Tuesday, October 19, 2021 4:45 PM
To: 'lwilliams@nationalcreditsystems.com' <lwilliams@nationalcreditsystems.com>
Subject: Zepherine Miller / 4510687
Hi Lynn,
The above former resident is in dispute.I wanted to know if you heard from the property before I call them.
Thank you,

10/20/2021 09:53:01 AM (YLW) ZEPHERINE MILLER Account info changed: Changed Amount Placed.
10/20/2021 09:54:58 AM (YLW) Adjustment Posted in the amount of: 16,117.50.
Applied to Account: 4510687
10/20/2021 09:55:42 AM (YLW) ZEPHERINE MILLER Received Email from Client; VICKI GETZ Per Client: Special Instructions Received; From: Alas Over
Lowry <alas@connorgroup.com>
Sent: Tuesday, September 28, 2021 3:03 PM
To: legal@nationalcreditsystems.com
Subject: RE: FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102| :Second Request
Good Afternoon,
                                                                     NCS-082
                                    Property of National Credit Systems, Inc. - Confidential
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                                                            CONFIDENTIAL
                                    Account Demographics & Notes                  Date: 09/19/2023
                                                                                                                                      Time:     10:08:14
                                                                                                                                      Page: 4 of 1


Client Account #: 102                                                                  MILLER ZEPHERINE
                                                                                       14078 NE 4TH ST
       Account ID: 4510687
                                                                                       CHOCTAW OK 73020-
      SSN:
   Client : ALAS OVER LOWERY APTS / CONNOR
   Amount Placed: $9670.50                Last Payment :                        Date Placed: 12/21/2020             Current
                                                                                                                    Phone: (405) 590-6390
Amount Collected:         $0.00          Current Status: AATT                  Last Worked: 02/17/2022
  Current Balance: $9670.50                      Strategy: PH1                    Last Letter: 02/03/2023




Attached is the updated Final Account Statement with the adjusted amount owed.
Thank you,
Vicki Getz

10/20/2021 09:56:14 AM (YLW) ZEPHERINE MILLER Free Hand Note: sent Revised FAS and 12
10/20/2021 09:56:30 AM (YLW) ZEPHERINE MILLER On Demand Letter: Debt Adjusted CO was Sent to 4428 ANDES WAY APT 415 DENVER CO 80249.
10/20/2021 09:56:49 AM (YLW) ZEPHERINE MILLER Account info changed: Status Code changed from Ò to Ò.
10/20/2021 10:01:55 AM (RAE) ZEPHERINE MILLER Emailed Client; Good morning Regina,
Yes and this has been completed.

Thank you,



Lynn Williams | Clerical Manager

10/20/2021 11:02:20 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
10/29/2021 05:51:01 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
11/19/2021 11:33:55 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
12/03/2021 04:04:08 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
12/13/2021 05:10:55 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
12/21/2021 11:07:22 AM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
12/31/2021 04:28:06 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
01/12/2022 03:49:58 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
01/31/2022 02:09:03 PM (JBL) ZEPHERINE MILLER TLO TLO Skip Outgoing requested.
02/01/2022 12:11:37 PM (MWC1) 6 Letter Sent to ZEPHERINE MILLER at 4428 ANDES WAY APT 415 DENVER CO 80249
02/01/2022 05:08:47 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
02/10/2022 12:06:10 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
02/17/2022 02:47:23 PM (112) ZEPHERINE MILLER Tel Res. (405) 590-6390 Current Residence Left Message with VOICE MAIL RECORDER.
03/25/2022 05:44:47 AM (*EOD*) ZEPHERINE MILLER Hot Follow Up Not Worked in 30 DAYS
03/26/2022 05:12:14 AM (*EOD*) ZEPHERINE MILLER Phase 2 Right Party Contacted Move to House
02/02/2023 04:57:22 PM (JBL) ZEPHERINE MILLER TLO TLO Skip Outgoing requested.
02/03/2023 07:23:44 AM (RVS) TLO sent new address.
02/03/2023 08:49:58 AM (STW) 6 Letter Sent to ZEPHERINE MILLER at 14078 NE 4TH ST CHOCTAW OK 73020
04/14/2023 03:06:55 AM (PRO4) ZEPHERINE MILLER Client email 71 was sent to alas@connorgroup.com,. Status changed from to .
04/14/2023 03:07:31 AM (PRO4) ZEPHERINE MILLER Free Hand Note: E-oscar dispute-
The former resident is disputing the debt. Please review the attached dispute along with your records and confirm if the debtor owes the balance. Also,
please verify the balance and confirm if the charges being assessed are correct or if the balance should be revised.
04/18/2023 08:16:00 PM (*EOD*) Reminder to client email FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102|
:Second Request sent.
04/19/2023 02:32:15 PM (LRF) ZEPHERINE MILLER Client email reminders cancelled.
04/20/2023 01:39:21 PM (RM2) ZEPHERINE MILLER Free Hand Note: From: Alas Over Lowry <alas@connorgroup.com>
Sent: Wednesday, April 19, 2023 2:29 PM
To: legal@nationalcreditsystems.com
Subject: RE: FCRA Info Request|4510687|ALAS OVER LOWERY APTS / CONNOR|Zepherine Miller|102| :Second Request
Hello,
This is correct this former resident does owes this amount according to our records.
Thank you,
                                                                        NCS-083
                                     Property of National Credit Systems, Inc. - Confidential
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                                    Account Demographics & Notes                  Date: 09/19/2023
                                                                                                                                  Time:     10:08:14
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Client Account #: 102                                                                MILLER ZEPHERINE
                                                                                     14078 NE 4TH ST
       Account ID: 4510687
                                                                                     CHOCTAW OK 73020-
      SSN:
   Client : ALAS OVER LOWERY APTS / CONNOR
   Amount Placed: $9670.50               Last Payment :                       Date Placed: 12/21/2020            Current
                                                                                                                 Phone: (405) 590-6390
Amount Collected:        $0.00          Current Status: AATT                 Last Worked: 02/17/2022
  Current Balance: $9670.50                     Strategy: PH1                   Last Letter: 02/03/2023




Caiti Kopp

04/20/2023 01:43:50 PM (RM2) ZEPHERINE MILLER Free Hand Note: Received email from client, debt verified
04/20/2023 01:44:20 PM (RM2) ZEPHERINE MILLER Account info changed: Status Code changed from Ò to Ò.
04/21/2023 05:42:03 AM (RM2) ZEPHERINE MILLER Free Hand Note: Emailed client to send ledger
04/21/2023 05:42:31 AM (RM2) ZEPHERINE MILLER Free Hand Note: Received email fromclient, docs frwded to appends ;
Hello,
Here is the ledger from our records.
Thank you,

04/26/2023 09:29:19 AM (PRO1) Received escalation to Level 2 investigation: reviewed information submitted by consumer claiming inaccurate information
with information supplied by client. I reviewed name, address, ssn/dob, account information, checked for accuracy and matching information.
Documentation supporting the consumer’s claim was provided. I'm reporting as disputed and the account will remain as active collections, unless the
consumer provides other supporting information allowing us to further investigate the claim. RPC 23 – Accurate as of date reported.
(Investigated by: Himanshu Kumar1)
05/01/2023 06:33:40 AM (PRO1) Received escalation to Level 2 investigation: reviewed information submitted by consumer disputing balance or amount
past due with information supplied by client. I reviewed name, address, ssn/dob, account information, checked for accuracy and matching information.
Documentation supporting the consumer’s claim was provided. I'm reporting as disputed and the account will remain as active collections, unless the
consumer provides supporting information allowing us to further investigate the claim. RPC 23 – Accurate as of date reported.

(Investigated by: Himanshu Kumar1)
05/29/2023 03:34:05 AM (PRO1) I received assignment of consumer dispute and claim of not his/hers. I have reviewed the consumer's claim and the
information provided to us. During my investigation, I compared the name, ssn/dob, and address with our information on file. No documentation supporting
the consumer's claim was provided. I'm reporting the account as disputed and an active collection account based on the matching information provided by
our client. RPC 23 - Updated account information unrelated to dispute.(Investigated by: Manmohan Thakur)
05/29/2023 03:34:12 AM (PRO1) I received assignment of consumer dispute and claim of incorrect balance. I have reviewed the claim and the information
provided by the consumer. In my investigation, I reviewed the itemization of charges provided by our client, payment information, balance in our system,
documentation on file, and Windebt data. I verified name, ssn/dob, and address with our information on file. No documentation supporting the consumer's
claim was provided. I'm reporting as disputed and the account will remain as active collections, unless the consumer provides supporting information
allowing us to further investigate the claim. RPC 23 - Updated account information unrelated to dispute.
(Investigated by: Manmohan Thakur)
09/19/2023 10:06:16 AM (KLM) ZEPHERINE MILLER Account info changed:
09/19/2023 10:06:28 AM (KLM) ZEPHERINE MILLER Account info changed:
09/19/2023 10:06:40 AM (KLM) ZEPHERINE MILLER Free Hand Note: ***ALERT LAWSUIT RECEIVED***




                                                                      NCS-084
                                     Property of National Credit Systems, Inc. - Confidential
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ACDVREQ_CRA_ACDV_CONTROL_NUM        ACDVREQ_ACCT_NUM ACDVREQ_SUBSCRIBER_CODE    ACDVRESP_RESPONSE_DATE_TIME
                           1.00E+17             4510687           401YC19990                      6/11/2021 7:08
                           3.92E+12             4510687               2980803                     6/11/2021 7:55
                           3.67E+14             4510687               1GVJ001                      7/2/2021 5:54
                       2.13957E+12              4510687               2980803                     4/24/2023 9:23
                       3.66972E+14              4510687               1GVJ001                     4/28/2023 9:30
                       9.99931E+16              4510687           401YC19990                     5/26/2023 20:39
                       3.66972E+14              4510687               1GVJ001                    5/27/2023 15:55




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ACDVREQ_LAST_NAME   ACDVREQ_FIRST_NAME   ACDVREQ_MIDDLE_NAME   ACDVRESP_LAST_NAME   ACDVRESP_FIRST_NAME
MILLER              ZEPHERINE                                  MILLER               ZEPHERINE
MILLER              ZEPHERINE                                  MILLER               ZEPHERINE
MILLER              ZEPHERINE            MARIE                 MILLER               ZEPHERINE
MILLER              ZEPHERINE
MILLER              ZEPHERINE            MARIE
MILLER              ZEPHERINE
MILLER              ZEPHERINE            MARIE




                                                   NCS-086
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ACDVRESP_MIDDLE_NAME   ACDVREQ_STREET           ACDVREQ_CITY   ACDVREQ_STATE   ACDVREQ_ZIP     ACDVRESP_STREET
                       4428 ANDES WAY APT 415   DENVER         CO                      80249   305 S FRIENDLY RD
                       4428 ANDES WAY           DENVER         CO                      80249
                       4428 ANDES WAY           DENVER         CO                  802496583
                       14078 NE 4TH STREET      CHOCTAW        OK                      73020
                       14078 NE 4TH ST          CHOCTAW        OK                 73020-4600
                       14078 NE 4TH ST          CHOCTAW        OK                      73020
                       14078 NE 4TH ST          CHOCTAW        OK                 73020-4600




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ACDVRESP_CITY    ACDVRESP_STATE ACDVRESP_ZIP ACDVREQ_PREVIOUS_LAST_NAME   ACDVREQ_PREVIOUS_FIRST_NAME
   Oklahoma City              OK       73130

                                            MILLER                        ZEPHERINE

                                            MILLER                        ZEPHERINE

                                            MILLER                        ZEPHERINE




                                                     NCS-088
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ACDVREQ_PREVIOUS_MIDDLE_NAME   ACDVRESP_PREVIOUS_LAST_NAME   ACDVRESP_PREVIOUS_FIRST_NAME


M

M

M




                                                   NCS-089
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ACDVRESP_PREVIOUS_MIDDLE_NAME   ACDVREQ_PREVIOUS_STREET   ACDVREQ_PREVIOUS_CITY   ACDVREQ_PREVIOUS_STATE
                                305 S FRIENDLY RD         OKLAHOMA CITY           OK




                                                   NCS-090
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ACDVREQ_PREVIOUS_ZIP   ACDVREQ_SSN   ACDVRESP_SSN   ACDVREQ_TEL_NUM   ACDVRESP_TEL_NUM
                 73130




                                                      NCS-091
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ACDVREQ_SECOND_PREVIOUS_STREET     ACDVREQ_SECOND_PREVIOUS_CITY   ACDVREQ_SECOND_PREVIOUS_STATE
8489 E LOWRY BLVD                  DENVER                         CO

1955 ULSTER ST APT 415             DENVER                         CO




                                                     NCS-092
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ACDVREQ_SECOND_PREVIOUS_ZIP    ACDVREQ_DISPUTE_CODE_1    ACDVREQ_DISPUTE_CODE_2
                         80230                       112
                                                     112
                     802202093                         1                       111
                                                     112
                                                     118                       110
                                                       1
                                                     118                       110




                                                     NCS-093
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ACDVREQ_FCRA_RELV_INFO                                  ACDVREQ_ACCT_STATUS_CODE        ACDVREQ_PAYMENT_RATING_CODE
IMAGE ATTACHED                                                                     93
||||||||||||||||||||||||                                                           93
Unable to authenticate documentation dated 11 28 2020                              93
                                                                                   93
Unable to authenticate documentation undated                                       93
CONSUMER STATES ACCOUNT NOT MINE                                                   93
Consumer says information and balance is inaccurate                                93




                                                          NCS-094
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ACDVREQ_MANNER_OF_PAYMENT_CODE   ACDVREQ_CONDITION_CUM_STATUS   ACDVREQ_DATE_OPENED_DAY
CD                                                                                        22
                                 / COLL ACCT                                              22
                                                                                          22
                                                                                          22
                                                                                          22
                                                                                          22
                                                                                          22




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ACDVREQ_DATE_OPENED_MONTH     ACDVREQ_DATE_OPENED_YEAR    ACDVREQ_CURRENT_BALANCE    ACDVREQ_AMOUNT_PAST_DUE
                            1                        2021                      25788
                            1                        2021                      25788                      25788
                            1                        2021                      25788                      25788
                            1                        2021                       9670
                            1                        2021                       9670
                            1                        2021                       9670
                            1                        2021                       9670




                                                   NCS-096
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ACDVREQ_HIGH_CREDIT_ORIG_AMT    ACDVREQ_CREDIT_LIMIT   ACDVREQ_ORIG_CHARGE_OFF_AMT   ACDVRESP_ACCT_STATUS_CODE
                          25788
                          25788
                          25788
                           9670
                           9670
                           9670
                           9670




                                                       NCS-097
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ACDVRESP_PAYMENT_RATING_CODE   ACDVRESP_DATE_OPENED_DAY        ACDVRESP_DATE_OPENED_MONTH
                                                          21                                12
                                                          21                                12
                                                          21                                12




                                                  NCS-098
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ACDVRESP_DATE_OPENED_YEAR    ACDVRESP_CURRENT_BALANCE    ACDVRESP_AMOUNT_PAST_DUE
                        2020                       25788                       25788
                        2020
                        2020
                                                                                9670
                                                                                9670

                                                                                9670




                                                   NCS-099
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ACDVRESP_HIGH_CREDIT_ORIG_AMT   ACDVRESP_CREDIT_LIMIT    ACDVRESP_ORIG_CHARGE_OFF_AMT   ACDVREQ_ACCT_TYPE_CODE
                                                                                                                 48
                                                                                                                 48
                                                                                                                 48
                                                                                                                 48
                                                                                                                 48
                                                                                                                 48
                                                                                                                 48




                                                        NCS-100
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ACDVREQ_PORTFOLIO_TYPE_CODE   ACDVREQ_TERM_DURATION_CODE       ACDVREQ_TERM_FREQ_CODE   ACDVREQ_ACTIVITY_DATE_DAY
                                                                                                                    12
                                                           1                                                        20
O                                                                                                                   20
                                                           1




                                                  NCS-101
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ACDVREQ_ACTIVITY_DATE_MONTH     ACDVREQ_ACTIVITY_DATE_YEAR    ACDVREQ_DATE_CLOSED   ACDVREQ_DATE_OF_LAST_PAYMENT
                              5                          2021
                              5                          2021
                              5                          2021
                                                                                                      10/20/2021 0:00
                                                                                                      10/20/2021 0:00
                                                                                                      10/20/2021 0:00
                                                                                                      10/20/2021 0:00




                                                     NCS-102
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ACDVREQ_SCHD_MONTHLY_PAYMENT   ACDVREQ_ECOA_CODE     ACDVREQ_FCRA_1ST_DATE_DELINQ      ACDVRESP_ACCT_TYPE_CODE
                                                   1                   11/27/2020 0:00
                                                   1                                                           48
                                                   1                   11/27/2020 0:00
                                                   1
                                                   1                       11/27/2020
                                                   1                       11/27/2020
                                                   1                       11/27/2020




                                                   NCS-103
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ACDVRESP_PORTFOLIO_TYPE_CODE   ACDVRESP_TERM_DURATION_CODE   ACDVRESP_TERM_FREQ_CODE




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O




                                                   NCS-104
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ACDVRESP_ACTIVITY_DATE_DAY        ACDVRESP_ACTIVITY_DATE_MONTH     ACDVRESP_ACTIVITY_DATE_YEAR    ACDVRESP_DATE_CLOSED
                             11                                  6                           2021
                             11                                  6                           2021
                              2                                  7                           2021




                                                          NCS-105
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ACDVRESP_DATE_OF_LAST_PAYMENT   ACDVRESP_SCHED_MONTHLY_PMT_AMT   ACDVRESP_ECOA_CODE




                                                  NCS-106
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ACDVRESP_FCRA_1ST_DATE_DELINQ        ACDVREQ_COMPL_CONDITION_CODE   ACDVREQ_SPECIAL_COMMENT_CODE

                   11/27/2020 7:55

                                     XB
                                     XB
                                     XB
                                     XB




                                                        NCS-107
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ACDVREQ_CONS_INFO_IND_CODE   ACDVREQ_ORIG_CREDITOR_NAME   ACDVREQ_CREDITOR_CLASS
                             ALAS OVER LOWERY APTS                                 9
                             ALAS OVER LOWERY APTS                                 9
                             ALAS OVER LOWERY APTS                                 9
                             ALAS OVER LOWERY APTS                                 9
                             ALAS OVER LOWERY APTS                                 9
                             ALAS OVER LOWERY APTS                                 9
                             ALAS OVER LOWERY APTS                                 9




                                                  NCS-108
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ACDVREQ_SPECIAL_PAY_IND_CODE   ACDVREQ_DEFER_PAY_START_DATE   ACDVREQ_PAYMENT_DUE_DATE




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ACDVREQ_PAYMENT_AMOUNT   ACDVRESP_COMPL_CONDITION_CODE   ACDVRESP_SPECIAL_COMMENT_CODE




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ACDVRESP_CONS_INFO_IND_CODE   ACDVRESP_ORIG_CREDITOR_NAME   ACDVRESP_CREDITOR_CLASS




                                                   NCS-111
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ACDVRESP_SPECIAL_PAY_IND_CODE   ACDVRESP_DEFER_PMT_START_DATE   ACDVRESP_PAYMENT_DUE_DATE




                                                    NCS-112
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ACDVRESP_PAYMENT_AMOUNT   ACDVREQ_AGENCY_ID   ACDVREQ_SEC_MKT_AGCY_ACCT_NUM   ACDVREQ_MORTGAGE_ID_NUM




                                                  NCS-113
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ACDVRESP_AGENCY_ID   ACDVRESP_SEC_MKT_AGCY_ACCT_NUM     ACDVRESP_MORTGAGE_ID_NUM




                                                      NCS-114
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ACDVREQ_ACTUAL_PAYMENT_AMOUNT   ACDVREQ_PORTFOLIO_IND   ACDVREQ_PURCHASED_PORTFOLIO   ACDVREQ_REMARKS_CODE




                                                 NCS-115
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ACDVRESP_FST_ASSO_CONS_LSTNAME   ACDVRESP_FST_ASSO_CONS_FSTNAME   ACDVRESP_FST_ASSO_CONS_MIDNAME




                                                  NCS-116
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ACDVRESP_SEC_ASSO_CONS_LSTNAME   ACDVRESP_SEC_ASSO_CONS_FSTNAME   ACDVRESP_SEC_ASSO_CONS_MIDNAME




                                                  NCS-117
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ACDVRESP_FST_ASSO_CONS_STREET   ACDVRESP_FST_ASSO_CONS_CITY   ACDVRESP_FST_ASSO_CONS_STATE




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ACDVRESP_FST_ASSO_CONS_ZIP   ACDVRESP_SEC_ASSO_CONS_STREET   ACDVRESP_SEC_ASSO_CONS_CITY




                                                     NCS-119
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ACDVRESP_SEC_ASSO_CONS_STATE   ACDVRESP_SEC_ASSO_CONS_ZIP   ACDVRESP_FST_ASSO_CONS_SSN




                                                    NCS-120
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ACDVRESP_SEC_ASSO_CONS_SSN   ACDVRESP_FST_ASSO_CONS_DOB_DAY   ACDVRESP_FST_ASSO_CONS_DOB_MTH




                                                   NCS-121
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ACDVRESP_FST_ASSO_CONS_DOB_YR   ACDVRESP_SEC_ASSO_CONS_DOB_DAY   ACDVRESP_SEC_ASSO_CONS_DOB_MTH




                                                   NCS-122
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ACDVRESP_SEC_ASSO_CONS_DOB_YR   ACDVRESP_FST_ASSO_CONS_TEL_NUM   ACDVRESP_SEC_ASSO_CONS_TEL_NUM




                                                  NCS-123
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ACDVRESP_FST_ASSO_CONS_ECOA_CD   ACDVRESP_FST_ASSO_CONS_INF_IND   ACDVRESP_SEC_ASSO_CONS_ECOA_CD




                                                   NCS-124
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ACDVRESP_SEC_ASSO_CONS_INF_IND   ACDVREQ_SEVEN_YEAR_PAY_HIST
                                 ------------------------------------------------------------------------------------
                                 GG----------------------------------------------------------------------------------
                                 ------------------------------------------------------------------------------------




                                                                 NCS-125
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ACDVRESP_SEVEN_YEAR_PAY_HIST                                                               ACDVRESP_VERIFY_LAST_NAME
------------------------------------------------------------------------------------                                   2
------------------------------------------------------------------------------------                                   2
------------------------------------------------------------------------------------                                   2




                                                                                       NCS-126
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ACDVRESP_VERIFY_FIRST_NAME       ACDVRESP_VERIFY_MIDDLE_NAME       ACDVRESP_VERIFY_PREV_LAST_NAME
                             2                                 3                                    3
                             2
                             2                                 3                                    3




                                                        NCS-127
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ACDVRESP_VERIFY_PREV_FST_NAME       ACDVRESP_VERIFY_PREV_MID_NAME       ACDVRESP_VERIFY_ADDRESS
                                3                                   3                             1
                                                                                                  2
                                3                                   3                             2




                                                        NCS-128
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ACDVRESP_VERIFY_DATE_OF_BIRTH       ACDVRESP_VERIFY_TELEPHONE_NUM       ACDVRESP_VERIFY_SSN       ACDVREQ_GENERATION_CODE
                                2                                   1                         2
                                2                                   1                         2
                                2                                   2                         2




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ACDVRESP_GENERATION_CODE   ACDVRESP_VERIFY_GEN_CODE       ACDVREQ_DATE_OF_BIRTH_DAY        ACDVREQ_DATE_OF_BIRTH_MONTH
                                                      3                               24                                 10
                                                                                      24                                 10
                                                      3                               24                                 10
                                                                                      24                                 10
                                                                                      24                                 10
                                                                                      24                                 10
                                                                                      24                                 10




                                                      NCS-130
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ACDVREQ_DATE_OF_BIRTH_YEAR    ACDVRESP_DATE_OF_BIRTH_DAY   ACDVRESP_DATE_OF_BIRTH_MONTH
                         1979
                         1979
                         1979
                         1979
                         1979
                         1979
                         1979




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ACDVRESP_DATE_OF_BIRTH_YEAR   ACDVRESP_ACDVRESPONSE_CODE      ACDVREQ_RESPONSE_DUE_DATE
                                                           23                 6/12/2021 0:00
                                                           23                 6/18/2021 0:00
                                                           23                  7/5/2021 0:00
                                                           23                 4/26/2023 0:00
                                                           23                 4/30/2023 0:00
                                                           23                 6/16/2023 0:00
                                                           23                 6/19/2023 0:00




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ACDVRESP_DF_CONTACT_TEL_NUM   ACDVRESP_ACTUAL_PAYMENT_AMOUNT   ACDVRESP_PORTFOLIO_IND




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ACDVRESP_PURCHASED_PORTFOLIO   ACDVRESP_PREVIOUS_STREET   ACDVRESP_PREVIOUS_CITY   ACDVRESP_PREVIOUS_STATE




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ACDVRESP_PREVIOUS_ZIP   ACDVRESP_VERIFY_PREV_ADDRESS       ACDVREQ_PREVIOUS_GEN_CODE   ACDVRESP_PREVIOUS_GEN_CODE
                                                       2
                                                       3
                                                       3




                                                       NCS-135
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ACDVRESP_FST_ASSO_CONS_GEN_CD   ACDVRESP_SEC_ASSO_CONS_GEN_CD   ACDVRESP_AUTHORIZED_NAME
                                                                Himanshu Kumar1
                                                                Himanshu Kumar1
                                                                Himanshu Kumar1
                                                                Himanshu Kumar1
                                                                Himanshu Kumar1
                                                                Manmohan Thakur
                                                                Manmohan Thakur




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ACDVREQ_DATE_CREATED     ACDVREQ_INTEREST_TYPE_IND   ACDVRESP_INTEREST_TYPE_IND   ACDVREQ_IMAGE_COUNT
         5/23/2021 19:31                                                                                1
          5/26/2021 6:17                                                                                1
          6/10/2021 0:00                                                                                1
           4/7/2023 0:00
           4/6/2023 0:00
          5/23/2023 0:00
          5/24/2023 0:00




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ACDVREQ_IMAGE_RECEIVED_COUNT    ACDV_IMAGE_IMAGE_ACCESSED   ACDV_IMAGE_IMAGE_ID    QUEUE_QUEUE_NAME
                               1Y                                        146749909 default1012245
                               1Y                                        146878599 default1012245
                               1Y                                        147569086 default1012245




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ACDVREQ_DATE_REQUESTED      ORIG_CODES_ORIG_DESCRIPTION    ROW_NUM
            5/23/2021 22:05 Equifax                             7378
            5/26/2021 19:44 Experian                           15317
             6/11/2021 4:31 TransUnion                            38
                            Experian                              79
                            TransUnion                            11
                            Equifax                              119
                            TransUnion                           120




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                                I N C O R PO RAT E D

              POLICIES & PROCEDURES TO INVESTIGATE
                    APARTMENT/LEASING DEBTS

For verification of tenant apartment/leasing debts following a written dispute received from an
alleged debtor or ACDV, ProCollect requires that you perform a reasonable investigation to
determine whether the information being reported to the Consumer Reporting Agencies is
incomplete or inaccurate prior to further collection efforts. If the information reported is
incomplete or inaccurate, ProCollect must update the information reported.

If, after your investigation, the information and documents available from the alleged Debtor,
the Creditor (and TLO if used), are in conflict, you are not required to resolve that conflict.
You are entitled to rely on the Creditor’s documents and representations when reporting the
debt. In completing the investigation, you must follow these steps:

        If the alleged debtor disputes the account (either amount or proper party):
       Regardless of the investigation results and regardless of the method of receipt (oral, in
writing, through ACDV), any dispute by an alleged Debtor regarding the amount of the debt or
whether they are a proper person liable for the debt requires that the account is marked as
disputed. If the investigation also reveals that information being reported is inaccurate or
incomplete, you must also update the account information so that it is reported correctly.

                                PROPER PARTY DISPUTE
    Move the account to the suspend category (SUP) during the investigation.

    Mark the account as disputed.

      Request the alleged Debtor to supply whatever proof supports the dispute to ProCollect
       in writing so that it can reviewed, and provided to the Creditor, if necessary.

      Confirm whether a final account statement (FAS) and signed signature page from the
       Lease exists in the batch file from the Creditor. If those documents are not included in
       ProCollect’s files, you must request them from the property manager. If both
       documents cannot be obtained, you must cancel the account and request deletion (CL3)
       as the account cannot be properly verified. If ProCollect has both documents and the
       name of the alleged Debtor matches a name on the Lease, proceed to the next step. For
       name variations, such as a/k/a names, maiden or married names, use TLO to assist in the
       verification. If the alleged Debtor cannot be matched to the Lease, move the account to
       CL3 and have a cancellation letter issued to the alleged Debtor.
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      If the alleged debtor is matched to the Lease, then review the documents provided by
       the alleged debtor to dispute the account, if any. Compare the information provided by
       the alleged debtor to those received from the Creditor, such as the Lease, FAS, and
       Lease Application, if available. Check to confirm personal identifiers (DoB and SSN)
       and compare signatures, if available. Again, for verification of addresses, or other
       identifying information, use TLO to assist in the investigation. If it appears that the
       alleged debtor may not the person named on the lease, present the matter to your
       supervisor for review to determine whether the account will be verified or cancelled.

    If the account is verified, issue the LT4 letter with batch file or FAS.

                 DISPUTE REGADING THE AMOUNT OF THE DEBT
                   (If the alleged debtor makes any statement that they do
                 not owe the debt, dispute the amount, claims it is paid, etc.)
    Move the account to the suspend category (SUP) during the investigation.

    Mark the account as disputed.

      Request the alleged Debtor to supply whatever proof supports the dispute to ProCollect
       in writing so that it can reviewed, and provided to the Creditor, if necessary.

      Confirm the amount on the final account statement (FAS). If the FAS is not included in
       ProCollect’s files, you must request it from the property manager. If it cannot be
       obtained, cancel the account and request deletion (CL3).

      If ProCollect has the FAS, then contact the Property Manager to confirm the debt is still
       owed, and the amount sought. Make any changes necessary to the account so that the
       amount reported is accurate as claimed by the Creditor.

    If the account is verified, issue the LT4 letter with batch file or FAS.

       REMEMBER FOR BOTH DISPUTES OF PROPER PARTY OR AMOUNT

      If the account is not being cancelled (CL3), you must issue an LT4 letter to the alleged
       debtor containing the batch file or FAS. If the dispute is received in writing, you must
       issue that LT4 before resuming collection activity.

      Again, if there is no verifiable information in the client’s documents (and TLO if used)
       to the alleged debtor, CL3.

      You must change the reporting to disputed, if not already being reported as disputed.
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